        Case 1:22-cr-10141-WGY Document 12-1 Filed 07/01/22 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                               )
                                                       )
       v.                                              )       Crim. No. 22-10141-WGY
                                                       )
SEAN O’DONOVAN,                                        )
                                                       )
                       Defendant                       )


                             DISCOVERY PROTECTIVE ORDER

       1.      Pursuant to Federal Rule of Criminal Procedure 16(d), the government submits,

and the defendant does not at this time contest, that good cause exists for the following

protective order in regard to certain confidential discovery in this case, including but not limited

to non-party financial and business records.

       2.      The government will make available copies of discovery materials to defense

counsel to comply with the government’s discovery obligations. With respect to discovery

materials designated as “confidential,” defense counsel of record may disclose such materials to

their investigators, paralegals, law clerks, and assistants, and to the defendant, only for the

purpose of preparing the legal defense in this case.

       3.      Defense counsel of record may disclose materials designated as “confidential” to

any potential witness in this case, provided that any personal identifying information other than

the name of an individual (including social security numbers, dates of birth, home addresses,

names of minor children, and financial account numbers of third parties) of persons other than

the witness have been redacted.

       4.      In the case of any expert witness hired by defense counsel for the purpose of

preparing the legal defense in this case, defense counsel may disclose materials designated as



                                                  1
        Case 1:22-cr-10141-WGY Document 12-1 Filed 07/01/22 Page 2 of 3




“confidential” to the expert witness without redaction so long as the expert witness: (a) has

signed the attached Agreement To Be Bound By Order, which defense counsel of record shall

retain; and (b) destroys all copies of such materials, or returns them to defense counsel of record,

at the conclusion of the case.

       5.      Nothing in this order shall be construed as imposing any discovery obligations on

the government or defendants that are different from those imposed by case law, the Federal

Rules of Criminal Procedure, and/or the Local Rules.

       6.      No person receiving discovery materials designated by the government as

“confidential” may further disseminate or disclose such materials for any purpose at any time,

except as may be agreed upon between defense counsel and the government, or as otherwise

ordered by the Court.



IT IS SO ORDERED.



___________________________                           Dated: _________________
Honorable Donald L. Cabell
United States Magistrate Judge




                                                 2
        Case 1:22-cr-10141-WGY Document 12-1 Filed 07/01/22 Page 3 of 3




                          AGREEMENT TO BE BOUND BY ORDER

        I hereby acknowledge that I have read the contents of the above protective order entered
in United States v. Sean O’Donovan, No. 22-CR-10141-WGY, and have had the terms explained
to me. I agree that the order applies to me, that I am bound by its terms, and that I shall comply
with its terms.


                                     Signature:       ________________________
                                     Name:            ________________________
                                     Date:            ________________________




                                                  3
